Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 1 of 12




             EXHIBIT 20
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 2 of 12



 I   (Stipulating parties listed on signature page)

 2                                  UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
 4
                                         SAN FRANCISCO DIVISION
 5
 6
      IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
 7    ANTITRUST LITIGATION,                           MDL No. 1917

 8
      This Document Relates to:                       STIPULATION AND [PROPOSED]
 9                                                    ORDER REGARDING PERSONAL
      Sharp Electronics Corp., et al. v. Hitachi      JURISDICTION OVER THOMSON SA
10    Ltd., etal.,No. 13-cv-1173;
11                                                    Judge: Hon. Samuel Conti
      Electro graph Systems, Inc. et al. v.
12    Technicolor SA, et al., No. 13-cv-05724;

13    Siegel v. Technicolor SA, et al., No. 1 3-cv-
      0526 1;
14
      Best Buy Co., Inc., et al. v. Technicolor SA,
15
      et al., No. 13-cv-05264;
16
      Target Corp. v. Technicolor SA, et al., No.
17    13-cv- 05686;
18   Interbond Corporation ofAmerica v.
     Technicolor SA, et al., No. 13-cv-05727;
19

20   Office Depot, Inc. v. Technicolor SA, et al.,
     No. 13-cv-05726;
21
      Costco Wholesale Corporation v.
22    Technicolor SA, et al., No. 13-cv-05723;
23
     P. C. Richard & Son Long Island
24   Corporation, et al. v. Technicolor SA, et al.,
     No. 13-cv-05725;
25
     Schultze Agency Services, LLC v.
26   Technicolor SA, Ltd., et al., No. 13-cv-
27   05668;

28   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
     STIPULATION AND [PROPOSED] ORDER RE                               No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 3 of 12




      Tech Data Corp., et al. v. Hitachi, Ltd., et
 2    al., No. 13-cv-00157;
 3
      ViewSonic Corporation v. Chunghwa
 4    Picture Tubes, Ltd., et al., No. 3:14-cv-
      025 10;
 5
      Crago, et al. v. Mitsubishi Electric Corp.,
 6    No. 14-cv-02058.
 7           Direct Action Plaintiffs Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
 8   Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.;
 9   Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.;
10   BestBuy.com , L.L.C.; Magnolia Hi-Fi, Inc.; Interbond Corporation of America; Office Depot,
11   Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
12   Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
13   behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
14   Corp.; and Target Corp.; Sharp Electronics Corporation and Sharp Electronics Manufacturing
15   Company of America, Inc., (collectively, "Sharp"); Tech Data Corporation and Tech Data
16   Product Management, Inc.; ViewSonic Corporation; (all collectively the "DAPs"); Crago, d/b/a
17   Dash Computers, Inc.; Arch Electronics, Inc.; Meijer, Inc.; Meijer Distribution, Inc.; Nathan
18   Muchnick, Inc.; Princeton Display Technologies, Inc.; Radio & TV Equipment, Inc.; Studio
19   Spectrum, Inc.; and Wettstein and Sons, Inc., d/b/a Wettsteins’s (collectively the "Direct
20   Purchaser Plaintiffs" or "DPPs"), and Thomson S.A. (n.k.a. Technicolor S.A.) have conferred by
21   and through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS
22   FOLLOWS:
23           WHEREAS, there is pending in the United States District Court for the Northern District
24   of California a multidistrict consolidated proceeding comprised of actions brought on behalf of
25   purported purchasers of cathode ray tubes ("CRT") and CRT products, captioned as                 In re:
26   Cathode Ray Tube (CRT) Antitrust Litigation,      Case No. 3:07-cv-05944 SC (MDL No. 1917) (the
27   "MDL Proceedings");
28           WHEREAS, Sharp filed on March 15, 2013, a Complaint naming Thomson SA as a
     STIPULATION AND [PROPOSED] ORDER RE                                      No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
         Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 4 of 12



         Defendant (Dkt. No. 1, Case No. 3:13-cv-01173 SC), on October 28, 2013, a First Amended

 N Complaint also naming Thomson SA as a Defendant (Dkt. No. 2030), and on June 13, 2014, a

 3        Second Amended Complaint also naming Thomson SA as a Defendant, now pending in this

 4       MDL (Dkt. No. 2621);

 5               WHEREAS, the DAPs have filed Complaints or Amended Complaints, which are now

 6       pending in this MDL, naming Thomson SA as a Defendant;

 7               WHEREAS, the DPPs have filed an Amended Class Action Complaint, which is now

 8       pending in this MDL, naming Thomson SA as a Defendant (Case No. 14-cv-02058, Dkt. No. 34);

 9               WHEREAS, on July 3, 2013, Thomson SA filed a Notice of Motion and Motion to

hi       Dismiss Sharp’s Complaint for Lack of Personal Jurisdiction (Dkt. No. 1765);

                 WHEREAS, on November 25, 2013, Thomson SA filed a Notice of Motion and Motion to

12       Dismiss Sharp’s First Amended Complaint (Dkt. No. 2235);

13               WHEREAS, on January 27, 2014, Thomson SA filed a Notice of Motion and Motion to

14       Dismiss the DAPs’ Complaints (Dkt. No. 2355);

15               WHEREAS, on February 7, 2014, Thomson SA filed a Notice of Motion and Motion to

16        Strike with Prejudice Tech Data’s First Amended Complaint (Dkt. No. 2373);

17               WHEREAS, on March 13, 2014, the Court issued an Order granting in part and denying

18       in part Thomson SA’s Motions to Dismiss Sharp’s First Amended Complaint and the DAPs’

19       Complaints or First Amended Complaints, finding that it has specific personal jurisdiction over

20 Thomson SA (Dkt. No. 2440);

21               WHEREAS, on March 28, 2014, the Court issued an Order granting in part and denying

22       in part Thomson SA’ Motion to Strike with Prejudice Tech Data’s First Amended Complaint,

23       dismissing Tech Data’s state-law claims but denying the motions with respect to its federal

24       claims, and finding that it has specific personal jurisdiction over Thomson SA (Dkt. No. 2507);

25               WHEREAS, on May 30, 2014, Thomson SA and the DPPs filed a stipulation preserving

26       any arguments for appellate purposes all motions raised in the MDL to date (Dkt. No. 2600), and

27       on June 12, 2014 the Court granted that stipulation (Dkt. No. 2616);

28   1           WHEREAS, on July 25, 2014, Thomson SA and ViewSonic Corporation filed a

         STIPULATION AND [PROPOSED] ORDER RE                                    No. 07-5944-SC; MDL No. 1917
         THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 5 of 12



 1   stipulation preserving any arguments for appellate purposes all motions raised in the MDL to date

 2   (Dkt. No. 2708), and on July 30, 2014 the Court granted that stipulation (Dkt. No. 2720);

 3            WHEREAS, Thomson SA has agreed that it will not contest personal jurisdiction - as it

 4   relates to the above referenced matters on appeal, in return for not having to produce documents

 5   solely related to personal jurisdiction in the United States (whether compelled through the Hague

 6   Evidence Convention in compliance with the French Blocking Statute or otherwise);

 7 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as

 8   follows:

 9       1.1.         Thomson SA has appeared in this action and admits that this Court has agrees that

10            it will not contest on appeal this Court’s admits that this Court has personal jurisdiction

11            over Thomson SA in the United States for this action_only;

12       2. Thomson SA admits that it had sufficient minimum contacts with the United States

13            between at least 1995 and 2007 for it to be subject to specific personal jurisdiction in the

14            United States to be subject to personal jurisdiction in the United States for this action;

15       3. Thomson SA admits that there is a nexus and connection between this dispute and the

16            United States for this action; and

17       4. Thomson SA further admits that Plaintiffs’ choice of forum in the United States for this

18            action is appropriate and not fraudulent.

19       I:           DAPs and DPPs agree that they will not seek the production of documents solely

20            related to personal jurisdiction in the United States whether compelled through the Hague

21            Evidence Convention in compliance with the French Blocking Statute or otherwise.

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     STIPULATION AND [PROPOSED] ORDER RE                                         No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 6 of 12



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 2   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4   Dated:
                                                        Hon. Samuel Conti
 5                                                  United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE                     No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 7 of 12



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     STIPULATION AND [PROPOSED] ORDER RE                            No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 8 of 12



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     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 9 of 12



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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No, 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 10 of 12



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     STIPULATION AND [PROPOSED I ORDER RE                           No. 07-5944-SC; MDL No. 1917
     ThOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 11 of 12




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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-20 Filed 12/18/14 Page 12 of 12



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21           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
22    document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER RE                                   No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
